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                                                                                             Exhibit L
bocarrasco47@outlook.com

From:               Bryce Carrasco
Sent:               Friday, February 19, 2021 6:36 PM
To:                 ckay@mtb.com
Cc:                 Janker, Caitlin; Office of the President
Subject:            Failure to disclose dispute


I just finished phone calls with all three reporting bureau’s to see if they had received disclosure from M&T Bank that I
am disputing the facts surrounding the information you have furnished. All 3 reporting agencies confirmed that you have
not made any disclosure and I recorded all three conversations for the record to support my civil cause of action against
Chris Kay and M&T Bank. Your inaction in making the required disclosures under federal law will be used against you in
the court of law.

Regards,

Bryce Carrasco
Cell: 410‐858‐7432
Email: bocarrasco47@outlook.com




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